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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

 RORY ANDERSON,                          ) Case No.: 2:10-CV-00957-WJM-MF
                                         )
               Plaintiff,                )
        v.                               )
                                         ) (Unlawful Debt Collection Practices)
                                         )
 EMERALD MARKETING GROUP,                )
 LLC,                                    )
                                         )
         Defendant.                      )

                       NOTICE OF VOLUNTARY DISMISSAL

 TO THE CLERK:

        NOTICE IS HEREBY GIVEN that the above-captioned case has been

 DISMISSED with prejudice.



 _/s/ Amy L. Bennecoff_______
 Amy L. Bennecoff, Esquire
 Kimmel & Silverman, PC
 1930 East Marlton Pike, Suite Q 29
 Cherry Hill, NJ 08003
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of May 2010, that a copy of the

 aforegoing Notice of Voluntary Dismissal was e-filed and sent by regular mail to:

                                  John L. Mullen, Esq.
                             Franke, Schultz & Mullen, P.C.
                                  8900 Ward Parkway
                                Kansas City, MO 64105

                                             ______/s/ Amy L. Bennecoff___
                                             Attorney for Plaintiff
                                             Amy L. Bennecoff, Esquire
                                             Kimmel & Silverman, PC
                                             1930 East Marlton Pike, Suite Q29
                                             Cherry Hill, NJ 08003
